      Case 3:21-cv-02450-WHO Document 358 Filed 10/21/22 Page 1 of 5




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17                                           Attorneys for Defendant Archer Aviation Inc.

18                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA
19                               SAN FRANCISCO DIVISION
20 WISK AERO LLC,                            Case No. 3:21-cv-02450-WHO
21
                  Plaintiff,                 JOINT STIPULATION AND [PROPOSED]
22                                           ORDER TO MODIFY CASE SCHEDULE
           vs.
23                                           [Declaration of Yury Kapgan filed
     ARCHER AVIATION INC.,                   concurrently]
24

25                Defendant.

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                                                                     Case No. 3:21-cv-02450-WHO
                                                     JOINT STIPULATION TO MODIFY CASE SCHEDULE
       Case 3:21-cv-02450-WHO Document 358 Filed 10/21/22 Page 2 of 5




 1           Pursuant to Civil Local Rules 6-2(a) and 7-12, Plaintiff Wisk Aero LLC (“Wisk”) and

 2 Defendant Archer Aviation Inc. (“Archer,” and together with Wisk, the “Parties”), by and through

 3 their undersigned counsel, hereby stipulate and agree as follows:

 4           WHEREAS, the Parties have each taken numerous depositions and are working together to

 5 schedule the balance of each side’s desired depositions;

 6           WHEREAS, although the Parties expect to complete most fact depositions by the current

 7 deadline of November 7, 2022, they recognize that there are substantial scheduling problems—

 8 including with third parties—that make complete compliance with the existing deadline extremely

 9 difficult;

10           WHEREAS, the Parties have conferred about these issues and have worked cooperatively

11 and in good faith to negotiate a proposed revised schedule that is mutually satisfactory;

12           WHEREAS, the proposed revised schedule does not impact any scheduled hearings, the

13 final pre-trial conference, or the trial;

14           WHEREAS, the only previous time modifications relevant to this issue are contained in the

15 scheduling orders issued by the Court (see Civil L.R. 6-2(a)(2));

16           WHEREAS, the Parties believe that the proposed revised schedule will not impact the Court

17 at all, because it does not impact any scheduled hearings, the final pre-trial conference, or the trial,

18 and believe that it will permit them to complete the remaining depositions in a timely manner (see

19 Civil L.R. 6-2(a)(3));

20           WHEREAS, this stipulation is supported by the Declaration of Yury Kapgan, as required

21 by Civil Local Rule 6-2(a);

22           IT IS HEREBY STIPULATED, by and between Wisk and Archer, that subject to the

23 Court’s approval, the Court modify the pre-trial and trial schedule as set forth in the table below.

24       #              Event                         Current Date              Proposed New Date
        1    Case Management Conference            Tuesday, October 25,         Tuesday, October 25,
25                                                    2022 at 2 p.m.               2022 at 2 p.m.
26      2    Deposition Discovery to be           Monday, November 7,          Monday, November 21,
             Completed                                    2022                         2022
27      3    Last Day to File Discovery           Monday, November 14,         Monday, November 28,
             Motions Related to Depositions               2022                         2022
28           (L.R. 37-3)

                                                       -1-                        Case No. 3:21-cv-02450-WHO
                                                                  JOINT STIPULATION TO MODIFY CASE SCHEDULE
      Case 3:21-cv-02450-WHO Document 358 Filed 10/21/22 Page 3 of 5




 1     #                 Event                      Current Date              Proposed New Date
      4    Wisk Narrows Trade Secrets to         Tuesday, November           Wednesday, November
 2         10 and its Patent Claims to 8                15, 2022                    23, 2022
 3    5    Archer Narrows Patent Prior Art       Tuesday, November           Wednesday, November
           References to 20                             22, 2022                    30, 2022
 4    6    Opening Expert Reports Due           Wednesday, December          Wednesday, December
                                                         7, 2022                    14, 2022
 5    7    Rebuttal Expert Reports Due          Friday, January 6, 2023     Friday, January 13, 2023
      8    Expert Discovery to be                Wednesday, January           Tuesday, January 31,
 6
           Completed                                    25, 2023                      2023
 7    9    Last Day to File Discovery            Wednesday, February          Tuesday, February 7,
           Motions Related to Expert                     1, 2023                      2023
 8         Discovery (L.R. 37-3)
      10   Parties File Motions for             Monday, February 13,        Friday, February 17, 2023
 9         Summary Judgment and/or                     2023
10         Daubert Motions
      11   Parties File Oppositions to           Monday, March 13,          Monday, March 13, 2023
11         Motions for Summary Judgment               2023
           and/or Daubert Motions
12    12   Parties File Replies in Support of   Monday, April 3, 2023        Monday, April 3, 2023
           Motions for Summary Judgment
13
           and/or Daubert Motions
14    13   Hearing on Motions for               Wednesday, April 26,          Wednesday, April 26,
           Summary Judgment and/or                2023 at 2 p.m.                2023 at 2 p.m.
15         Daubert Motions
      14   Pretrial Conference                  Monday, June 26, 2023       Monday, June 26, 2023 at
16                                                  at 2:00 p.m.                  2:00 p.m.
17    15 Trial                                   Monday, August 14,         Monday, August 14, 2023
                                                  2023 at 8:30 a.m.              at 8:30 a.m.
18         IT IS SO STIPULATED.
19                                       Respectfully submitted,
20 Dated: October 21, 2022               QUINN EMANUEL URQUHART & SULLIVAN, LLP
21

22                                       By:          /s/ Yury Kapgan_________________________
                                                                    Yury Kapgan
23                                                         Attorneys for Plaintiff Wisk Aero LLC
24
                                         GIBSON DUNN & CRUTCHER LLP
25

26                                       By:          /s/ Wayne Barsky________________________
                                                                   Wayne Barsky
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                                                          Attorneys for Defendant Archer Aviation Inc.
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                                                    -2-                          Case No. 3:21-cv-02450-WHO
                                                                 JOINT STIPULATION TO MODIFY CASE SCHEDULE
      Case 3:21-cv-02450-WHO Document 358 Filed 10/21/22 Page 4 of 5




 1 PURSUANT TO STIPULATION, AND GOOD CAUSE APPEARING TO EXIST, IT IS SO
   ORDERED.
 2

 3   Dated: __________________, 2022
 4

 5                                        ______________________________________
 6                                               Honorable William H. Orrick
                                                 United States District Judge
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                                                  JOINT STIPULATION TO MODIFY CASE SCHEDULE
      Case 3:21-cv-02450-WHO Document 358 Filed 10/21/22 Page 5 of 5




 1                          Attestation Pursuant to Civil Local Rule 5-1(h)(3)

 2         I, Yury Kapgan, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury under the laws of the United States

 4 of America that the foregoing is true and correct.

 5

 6 Dated: October 21, 2022               QUINN EMANUEL URQUHART & SULLIVAN, LLP

 7
                                         By:             /s/ Yury Kapgan_________________________
 8
                                                                       Yury Kapgan
 9                                                            Attorneys for Plaintiff Wisk Aero LLC

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                                                                     JOINT STIPULATION TO MODIFY CASE SCHEDULE
